AOMB<R¢V, iga§et§al&-QUQQAJ§JMQ"a@aanmant 24 Filed 11/06/17 Pace 1 Of 6 PacelD# 260

 

UNITED STATES DISTRICT COURT
Eastern District of Virginia
Richmond Division

UNITED STATES OF AMERICA

V. Case Number: 3:17'CR00048-001
RAVEN l\/l. ZAAL, USl\./I Numbet': 91219-083
Defendant's Attorney: John Paul Gregorio, Esq.
Defendant. Jonathan David, Esq.

JUDGMENT IN A CRIMINAL CASE

'I`he defendant pleaded guilty to Counts One, Two and Three of the Criminal Information.

Accordingly, the defendant is adjudged guilty ofthe following counts involving the indicated offenses

Tit|c and Scction Nature of Ol`t`ense Ol`t`ense Class Oft"ense Ended Count

 

18:1347; 18:982(a)(7); 1-1EALT1-I CARE FRAUD; FORFEITURE Felony Apri12016 One
18:981(a)(1), incorporating NOT|CE OF RELATED PROPERT‘:’
28:2461; and 21:853(p)

18:641; 18:982(a)(7); THEFT OF SOCIAL SECURITY FUNDS; Felony 2015 Two
18:981(a)(1), incorporating FORFElTURE NOTlCE OF RELATED

28:2461; and 21:853(p) PROPERTY

18:641; 18:982(3)(7); THEFT OF FOOD STAMP FUNDS; l"clony i\/lay 2015 Thrcc
18198|(a)(1), incorporating FORFEITURE NOTlCE OF RELATED

28:2461; and 21 :853(p) PROPERTY

As pronounced on November 3, 2017', the defendant is sentenced as provided in pages 2 through 6 of this Judgment.
The sentence is imposed pursuant to the Sentencing Reform Aet of 1984.

lt is ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all l'ines, restitution, costs, and special assessments imposed by thisjudgmcnt
are fully paid. ll` ordered to pay restitution, the defendant must notify the court and United States Attorney of material
changes in economic circumstancesl

Judgment Imposed this 3rd day ol`Nove:nber, 2017.

 

lsi 04 7
Jolm A. Gibney, Jr. / ‘
United States Dis ` t Judg

 

 

 

 

Dated: li/é’/i7

Aoasa{m.19&§%§513,:§i.QQQa§,-J&g.ma,nggumem 24 Filed 11/06/17 Page 2 of e Pagelt)# 261 pagczor(,

Sheet 2 - Imprisonmcnt

Case Number: S:ITCRBOUdS-Otll
Defendant's Name: ZAAL, RAVEN M.

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Burean of Prisons to be imprisoned for a
term of TWENTY-FOUR (24) MONTHS. This term of imprisonment consists of a term of TWENTY-FOUR (24}
MONTHS on Count One, a term of TWENTY-FOUR (24) MONTHS on Count Two, and a term of 'I`WENTY-FOUR
(24) MONTHS on Count Three, all to be served concurrently.

The Court makes the following recommendations to the Bureau of Prisons:
1) THAT THE DEFENDANT PARTICIPATE IN EDUCATIONAL AND VOCATIONAL TRAINING.

The defendant is remanded to the custody of the United States Marsha|.

 

 

 

 

RETURN
l have executed this judgment as follows:
Defendant delivered on to
at . with a certified copy of this Judgment.

 

UNITED STA'I`ES MARSHAL

 

DE`.PUTY UNITED STATES MARSi-IAL

AOZ¢SB(RW_ lQ@§eA§i,l,g,jgt]-,QQIQ¢$E§n-§&Qiml|%gpument 24 Filed 11/06/17 Page 3 of 6 Page|D# 262 page_»,ur¢

Sheet 3 - Supervised Relr:ase

Casc Number: 3:17CRO|]048-001
Defcndant‘s Name: ZAAL, RAVEN M.

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of THREE (3) YEARS. This
term consists of a term of THREE (3) YEARS on Count One, a term of THREE (3) YEARS on Count Two, and a term of
THREE (3) YEARS on Count Three, all to run concurrent|y.

The Probation Of`f'lce shall provide the defendant with a copy of the standard conditions and any special conditions of
supervised release.

The defendant shall report to the probation office in the district to which the defendant is released within ?2 hours of
release from the custody of the Bureau of Prisons.

The defendant shall not commit another federa|, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use
of a controlled substance The defendant shall submit to one drug test within 15 days of release from imprisonment and
periodic drug tests thereafter, as determined by the court.

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

lf thisjudgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay
any such fine or restitution in accordance with the Schedule of Payments set forth in the Criminal Monetary Penaities
sheet of this judgment.

STANI)ARD CONDITIONS OF SUPERVISION

The defendant shall comply with the standard conditions that have been adopted by this court set forth below:

l) the defendant shall not leave thejudicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the
first five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the
probation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
training, or other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

?) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
administer any narcotic or other controlled substance or any paraphernalia related to such substances, except as
prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any
person convicted of a felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view of the probation officer;

li) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer for a special agent of a law enforcement
agency without the permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
notifications and to confirm the defendant‘s compliance with such notification requirement

AOMB(RW_ l§@§eA§bJ,L;§}rj,QQQgi§,-§&Qinallgppument 24 Filed 11/06/17 Page 4 of 6 Page|D# 263 wigmore

Sheet 3A -- Supcrvised Rc|case

Case Number: 3:17CR0004B-0|]l
Defcndant’s Name: Z.AAL. RAVEN M.

SPECIAL CONDITIONS OF SUPERVISION

While on supervised release pursuant to this Judgment, the defendant shall also comply with the following additional
special conditions:

l)
2)

3)

4]
5)

The defendant shall participate, at no cost to the defendant, in a program approved by the United States
Probation Office for mental health treatment
'I`he defendant shall waive all rights of confidentiality regarding mental health treatment in order to
allow the release of information to the probation officer and authorize communication between the
probation officer and the treatment provider.
The defendant shall not incur new credit card charges or open additional lines of credit without the
approval of the probation officer,
The defendant shall provide the probation officer with access to requested financial information
The defendant shall pay the balance owed on any court-ordered financial obligations as follows:

On her special assessment the defendant shall pay in monthly installments of not less than $10,
starting 60 days after supervision begins until paid in full.

On her restitution, the defendant shall pay in monthly installments of not less than $100, or 25
percent of net income, whichever is greater, starting 60 days after supervision begins until paid in full.

Ao ass met 19£§€¢1§61¢;?9{ iii?.i?¢éi€i,;§&$§inat;ggument 24 Filed 11/06/17 Page 5 of 6 PagelD# 264 ransom

Shect 5 - Criminal Monetary Pcnaltics

Case Number: 3:17CR00048-0[|l
Defendant‘s Name: Z.AAL, RAVEN M.

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Page 6.

M Asscssmcnt M Restitution

One $100.00 50.00 $246,958.00

Two $|00.00 $0.00 $0.00
Three $ l 00.00

TOTALS: $300.00 $0.00 $246,958.00
FINES

No fines have been imposed in this case.

RESTITUTION

The defendant must make restitution (including community restitution) to the following payees in the amount listed
below. If defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. Section
3664(1), all nonfederal victims must be paid before the United States is paid.

Department of Medical Assistance Services $21 ?,519.00
202 North Main Street

Richmond, VA 23219

Attn: Randal| I_,. Clouse

Restitution: Raven M. Zaal

Supplemental Nutritional Assistance Program $14,')'84.00
Spotsylvania Department of Social Services

PO Box 249

Spotsylvania, VA 22553

Ta be paid last pursuant to 18 U..S'.C. § 3664(:)

Social Security Administration $14,655.00
Debt Management Seetion

Attn: Court Refund

PO Box 2861

Philadelphia, PA 19122

Total Restitution 5246,958.00

Aoz4ss¢a¢v.1963§$».§:`)1¢7\,.'§rr.ii§ildii.'§él,§.nal|@ppument 24 Fi|eo| 11/06/17 Page 6 of 6 PagelD# 265 Pag¢aorf»
Shect 6 - Schcdulc of Payments

Case Number: 3:\7CR00048-001
Defendant’s Narne: Z.AAL, RAVEN M.

SCHEDULE OF PAYMENTS

Having assessed the defendants ability to pay, payment of the total criminal monetary penalties are due as follows:

lnterest on the restitution is waived. On any unpaid balance, the defendant shall pay to the Clerk at least $100.00 per
month or 25 percent of net income, whichever is greater, beginning 60 days from the inception of supervised release. The
court reserves the option to alter this amount, depending upon defendant’s financial circumstances at the time of
supervised release.

The defendant shall forfeit the defendant's interest in the following property to the United States:
SEE Consent Order of Forfeiture entered by the Court on June l9, 2017.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons‘ Inmate Financial Responsibility Program, are made to the Clerk of the Court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
Payments shall be‘ applied in the following order: (l) assessment (2) restitution principal (3) restitution interest (4) fine
principal (5) fine interest (6) community restitution (7) penalties and (8) costs, including cost of prosecution and court
costs.

Nothing in the court's order shall prohibit the collection of any judgment, fine, or special assessment by the United States.

